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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

                                                        )
  3D GLOBAL SOLUTIONS, INC., a                          )
  corporation,                                          )
                                                        )      Case No. 1:19-cv-07524
            Plaintiff,                                  )
                                                        )      Judge Manish S. Shah
            v.                                          )
                                                        )      Mag. Judge Young B. Kim
  CHAI TRUST COMPANY, LLC d/b/a                         )
  EQUITY GROUP INVESTMENTS, a limited                   )
  liability company; PAR PACIFIC HOLDINGS,              )
  INC., a corporation; and PAR HAWAII                   )
  REFINING, LLC, a limited liability corporation;       )
  and DOES 1-100,                                       )
                                                        )
            Defendants.

        DEFENDANT CHAI TRUST COMPANY, LLC’S MOTION TO DISMISS

       Defendant Chai Trust Company, LLC (“Chai Trust”), pursuant to Federal Rules of Civil

Procedure 9(b) and 12(b)(6), respectfully requests that this Court dismiss Plaintiff 3D Global

Solutions, Inc.’s complaint against it for failure to state any claim upon which relief may be

granted. In support of this motion, Chai Trust incorporates its accompanying memorandum of law

and states as follows:

       1.        All counts should be dismissed pursuant to Rule 12(b)(6) under Bell Atlantic Corp.

v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009) because all are based

on vague and conclusory group allegations that do not allege any wrongful conduct by Chai Trust.

(See Mem. §I.)

       2.        Count I (RICO) also fails to allege certain requisite elements, including: (1) Chai

Trust utilized a “distinct enterprise” to engage in any purported racketeering activity; (2) a pattern

of any purported racketeering activity; or (3) facts sufficient to meet Rule 9(b)’s heightened
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pleading standard that support any allegation Chai Trust engaged in any purported racketeering

activity. Each is a separate, independent ground for dismissal. (See Mem. §II.)

       3.      Count II (Tortious Interference) should also be dismissed because it does not allege

any facts to support an inference that Plaintiff had a reasonable expectancy to enter into a contract

with the government, or that Chai Trust knew about Plaintiff or purposefully interfered with it.

(See Mem. §V.)

       4.      Count III (Fraudulent Misrepresentation) should also be dismissed because

Plaintiff’s claim does not meet the heightened pleading requirements of Rule 9(b), and also

because the Complaint does not allege that Chai Trust made any misrepresentations, that Chai

Trust intended Plaintiff to rely on anything it did or said, or that Plaintiff reasonably relied on

anything Chai Trust did or said. (See Mem. §III.)

       5.      Count IV (Consumer Fraud Act) should also be dismissed because Plaintiff’s claim

again does not meet Rule 9(b)’s heightened pleading standard, and because it does not allege harm

to consumers or implicate consumer protection concerns, or does not allege facts to show that Chai

Trust intended Plaintiff to rely on anything it did or said. (See Mem. §IV.)

       6.      Counts V (Conspiracy) and VI (Unjust Enrichment) should also be dismissed

because conspiracy and unjust enrichment are not stand alone, separate causes of action under

Illinois law without a surviving underlying claim based in wrongdoing. (See Mem. §VI.)

       WHEREFORE, for the foregoing reasons, and for the reasons set forth in its accompanying

memorandum of law, Chai Trust respectfully requests that this Court enter an order dismissing

Plaintiff’s complaint against Chai Trust with prejudice.




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Dated: March 12, 2020

                                                Respectfully submitted,

                                                CHAI TRUST COMPANY, LLC

                                                By: /s/ Andrew W. Vail
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                                CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5 and Northern District of Illinois Local Rule

5.5, the undersigned, an attorney of record in this case, hereby certifies that on March 12, 2020, a

true and correct copy of Chai Trust, LLC’s Motion to Dismiss was filed electronically by

CM/ECF, which caused notice to be sent to all counsel of record.

Dated: March 12, 2020


                                                          By: /s/ Andrew W. Vail
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